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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:07-CR-00096-KJM-EFB

12                               Plaintiff,              ORDER SEALING DOCUMENTS AS SET FORTH
                                                         IN GOVERNMENT’S NOTICE
13                         v.

14   MARK C. ANDERSON,

15                               Defendant.

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17         Pursuant to Local Rule 141(b) and based upon the representation contained in the government’s

18 Request to Seal, IT IS HEREBY ORDERED that Exhibit 1 to the government’s response to the

19 defendant’s supplemental information letter pertaining to defendant Mark C. Anderson, and the

20 Government’s Request to Seal, shall be SEALED until further order of this court.

21         It is further ordered that electronic access to the sealed documents shall be limited to the United

22 States and counsel for the defendant.

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      ORDER SEALING DOCUMENTS AS SET FORTH IN           1
      GOVERNMENT’S NOTICE
           Case 2:07-cr-00096-KJM-EFB Document 320 Filed 05/05/22 Page 2 of 2

 1          The court has considered the factors set forth in Oregonian Publ’g Co. v. U.S. Dist. Court for

 2 Dist. of Or., 920 F.2d 1462 (9th Cir. 1990). The court finds that, for the reasons stated in the

 3 government’s request, sealing the request and Exhibit 1 serves a compelling interest. The court further

 4 finds that, in the absence of closure, the compelling interests identified by the government would be

 5 harmed. In light of the public filing of the government’s Notice to Seal, the court further finds

 6 that there are no additional alternatives to sealing the government’s request and Exhibit 1 that would

 7 adequately protect the compelling interests identified by the government.

 8 DATED: May 4, 2022.

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      ORDER SEALING DOCUMENTS AS SET FORTH IN            2
      GOVERNMENT’S NOTICE
